MANDATE
                 Case
              Case     16-3510, Document
                   1:15-cv-02739-LAP     33, 09/13/2023,
                                      Document           3568180,
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                           UNITED STATES COURT OF APPEALS
                                      FOR THE
                                   SECOND CIRCUIT                                                Sep 13 2023


            At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     13th day of September, two thousand twenty-three.

     ________________________________

      Argentine Republic, YPF S.A.,
                                                       ORDER
                   Petitioners,
                                                       Docket Nos. 16-3510(L), 16-3512(CON)
      v.

      Petersen Energia Inversora, S.A.U., Petersen
      Energia S.A.U.,

                Respondents.
     ________________________________


           IT IS HEREBY ORDERED that the above-captioned petitions for leave to appeal are
     DENIED as moot in light of this Court’s opinion dated July 10, 2018 in Docket Nos. 16-
     3303(L), 16-3304(CON).

                                                         For the Court:

                                                         Catherine O’Hagan Wolfe,
                                                         Clerk of Court




MANDATE ISSUED ON 09/13/2023
